       Case 2:10-cr-00413-MCE Document 40 Filed 09/29/11 Page 1 of 2


1    J. Toney
     Attorney at Law
2    State Bar No. 43143
3    P.O. Box 1515
     Woodland, California 95776
4    (530) 666-1908
     yoloconflict@aol.com
5
     Attorney for Juan Cuevas
6
7                     IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,          )
                                        ) Cr. No. 10-413 MCE
10           Plaintiff,                 )
                                        ) STIPULATION AND ORDER
11      v.                              ) CONTINUING STATUS
                                        ) CONFERENCE (Oct 27, 2011
12   JUAN CUEVAS                        ) before Judge England)
     et al                              )
13                                      )
                                        )
14           Defendants,                )
     ___________________________________)
15
16
         The parties continue to work toward resolution of this case.
17
     However, the Defense needs more time to review discovery and to
18
     attempt to resolve the matter.
19
       The parties therefore stipulate that
20
     the Status Conference be continued to Oct 27, 2011 and ask that
21
     the Court so order.    The parties also stipulate that time under
22
     the Speedy Trial Act be excluded for Counsel preparation, local
23
     code T4 to conclude plea negotiations.
24
     Dated Sept. 25, 2011
25
         /s/ PAUL HEMESETH                        /s/ J TONEY
26         Paul Hemeseth                         J Toney
     Assistant U S Attorney                   Attorney for Juan Cuevas
27
28                                        1
       Case 2:10-cr-00413-MCE Document 40 Filed 09/29/11 Page 2 of 2


1
2
3                                               /s/ GILBERT ROQUE
                                                   Gilbert Roque
4                                             Attorney for Hugo Delacruz
5
                               ORDER
6
7         Good cause appearing, it is hereby ordered that the status
8    conference be continued to Oct. 27, 2011 at 9:00 AM and that the
9    period from Sept 29, 2011 to Oct. 27, 2011 be excluded from
10   calculation under the Speedy Trial Act pursuant to 18 USC Sec.
11   3161 (h)(7)(A) and local code T4. The Court also finds that the
12   ends of justice served by granting Defendant’s request for a
13   continuance outweigh the best interest of the public and defendant
14   in a speedy trial.
15        IT IS SO ORDERED.
16
     Dated: September 28, 2011
17
18                                      _____________________________
                                        MORRISON C. ENGLAND, JR.
19
                                        UNITED STATES DISTRICT JUDGE
20
21
22
23
24
25
26
27
28                                        2
